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                                 MAGISTRATE JUDGE'S MINUTES
                       IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF ARIZONA – FLAGSTAFF
U.S. Magistrate Judge: Camille D. Bibles        Date: December 7, 2022
USA v. Donnae Barlow                            Case Number: 22-04427MJ-002-PCT-CDB

Assistant U.S. Attorney: Wayne Venhuizen for Dimitra Hotis Sampson
Attorney for Defendant: Roberta J. McVickers, CJA
Interpreter: N/A
Defendant: ☒ Present ☐ Not Present ☐ Released ☒ Custody ☐ Summons ☐ Writ

DETENTION HEARING :               ☒ Held ☐ Continued ☐ Submitted ☐ UA
PTS recommends: Detention.
Government position: Detention.
Defense recommends: Release.
Government's request for detention ☒ Granted ☐ Denied
☒ Defendant Ordered detained pending Trial as a flight risk and a danger.

STATUS HEARING:
Defense Counsel request Status Hearing regarding Preliminary Hearing continued and no objection by
the Government.

Status Hearing regarding Preliminary Hearing set for Tuesday, December 13, 2022 at 10:45 a.m.
before Magistrate Judge Camille D. Bibles at 123 N. San Francisco Street, Flagstaff, Arizona.

Recorded By Courtsmart                                                       SH     1 min
Deputy Clerk Christina Davison                                               DH     39 min

                                                                             Start: 10:02 am
                                                                             Stop: 10:42 am
